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1                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
2
     UNITED STATES OF AMERICA,                         Case No. 2:20-cr-194-JAD-DJA-4
3
                   Plaintiff,                          Order of Dismissal of the Indictment
4
                                                       Without Prejudice
           v.                                          as to Defendant Alen Boucourt Diaz
5
     ALEN BOUCOURT DIAZ,                                          ECF No. 67
6
                   Defendant.
7

8
           Pursuant to Federal Rule of Criminal Procedure 48(a), and upon leave of Court, the
9
     United States hereby dismisses without prejudice the charges brought against Defendant
10
     Alen Boucourt Diaz contained in the Indictment in the above-captioned case.
11
                                                       NICHOLAS A. TRUTANICH
12
                                                       United States Attorney
13                                                     /s/ Jamie Mickelson
                                                       JAMIE MICKELSON
14
                                                       Assistant United States Attorney
15
           Leave of Court is granted for the filing of the above dismissal.
16                     19th           October
           DATED this _______ day of ___________, 2020.
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                                                   HONORABLE JENNIFER A. DORSEY
                                                   UNITED STATES DISTRICT JUDGE
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